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                                   5                                  UNITED STATES DISTRICT COURT

                                   6                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   8       SOFTWARE RESEARCH, INC.,                        Case No. 21-cv-08124-JST
                                                        Plaintiff,
                                   9
                                                                                           SCHEDULING ORDER
                                                  v.
                                  10

                                  11       BROWSERSTACK, INC.,
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13           The Court hereby sets the following case deadlines pursuant to Federal Rule of Civil

                                  14   Procedure 16 and Civil Local Rule 16-10:

                                  15
                                                                          Event                                      Deadline
                                  16
                                             Deadline to add parties or amend the pleadings1                   June 1, 2022
                                  17
                                             Mediation deadline                                                June 1, 2022
                                  18
                                  19         Claim construction discovery cut-off                              August 31, 2022

                                  20         Claim construction opening brief                                  September 22, 2022

                                  21         Claim construction responsive brief                               October 13, 2022
                                  22
                                             Claim construction reply brief                                    October 27, 2022
                                  23
                                                                                                               November 7, 2022 at
                                             Tutorial
                                  24                                                                           2:00 p.m.

                                  25                                                                           December 5, 2022 at
                                             Claim construction hearing
                                                                                                               1:30 p.m.
                                  26
                                  27
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                                  28    After this deadline, a party may still seek amendment, but must demonstrate good cause. Fed. R.
                                       Civ. P. 16(b)(4).
                                             Case 4:21-cv-08124-JST Document 29 Filed 03/01/22 Page 2 of 3




                                   1           This case is referred to private mediation.

                                   2           Counsel may not modify these dates without leave of court. The parties shall comply with

                                   3   the Court’s standing orders, which are available at https://cand.uscourts.gov/judges/tigar-jon-s-jst/.

                                   4           The parties shall meet and confer regarding the format, scope, and content of both the

                                   5   tutorial and the claim construction hearing, including but not limited to the permissible subjects of

                                   6   discussion at each, whether experts will testify, and what audio-visual equipment, if any, will be

                                   7   needed by the parties. They also shall exchange copies of any audio-visual material at least ten

                                   8   court days before they intend to use it in court, and shall bring any disputes regarding the format,

                                   9   scope, or content of any tutorial or hearing to the Court’s attention at least five court days before

                                  10   the tutorial or hearing. The Court will deem as waived any objection raised less than five court

                                  11   days before the tutorial or hearing. The parties shall lodge hard copies of their presentation

                                  12   materials with the Court on the day of the tutorial or claim construction hearing.
Northern District of California
 United States District Court




                                  13           The Court will reserve no more than ninety minutes on its calendar for the tutorial,

                                  14   including a brief recess. The tutorial will not be reported by a court reporter.

                                  15           At claim construction, the Court will construe only the terms the parties identify in their

                                  16   Joint Claim Construction and Prehearing Statement as “most significant to the resolution of the

                                  17   case up to a maximum of 10.” Patent Local Rule 4-3(c). The Court will reserve no more than two

                                  18   hours on its calendar for the claim construction hearing, including a brief recess. The Court

                                  19   prefers that the parties proceed term-by-term, with each party providing its views on each term

                                  20   before moving on to the next. The Court’s use of time limits means that the parties may not have

                                  21   the opportunity to present oral argument on every term they have submitted for construction, and

                                  22   the parties should prioritize their presentations accordingly.

                                  23           The parties must take all necessary steps to conduct discovery, compel discovery, hire

                                  24   counsel, retain experts, and manage their calendars so that they can complete discovery in a timely

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                                   1   manner and appear on the noticed and scheduled dates. All counsel must arrange their calendars

                                   2   to accommodate these dates, or arrange to substitute or associate in counsel who can.

                                   3          IT IS SO ORDERED.

                                   4   Dated: March 1, 2022
                                                                                      ______________________________________
                                   5
                                                                                                    JON S. TIGAR
                                   6                                                          United States District Judge

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Northern District of California
 United States District Court




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